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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 31, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following documents via Electronic Mail upon the service list attached hereto as
Exhibit A; and, on February 1, 2024, via First Class Mail upon the service list attached hereto as
Exhibit B:

    •    Second Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
         and Its Affiliated Debtors [Docket No. 941]

    •    Notice of Filing of Blackline of Second Modified First Amended Joint Chapter 11 Plan
         of Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 942]

       Furthermore, on February 2, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following documents via Electronic Mail upon the service list
attached hereto as Exhibit C; and via First Class Mail upon the service list attached hereto as
Exhibit D:

    •    Second Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
         and Its Affiliated Debtors [Docket No. 941]



                                           (Continued on Next Page)




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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   •   Notice of Filing of Blackline of Second Modified First Amended Joint Chapter 11 Plan
       of Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 942]

Dated: February 8, 2024
                                                 /s/ Michael Villa
                                                 Michael Villa
                                                 KCC
                                                 222 N Pacific Coast Highway, 3rd Floor
                                                 El Segundo, CA 90245
                                                 Tel 310.823.9000




                                            2
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                    Exhibit A
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                                                                                 Exhibit A
                                                                          Core/2002 Service List
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                                                                          Exhibit A
                                                                   Core/2002 Service List
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                    Exhibit B
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  Top 30 and Committee of
  Unsecured Creditors                  SA Automotive LTD                 Shar Hedayat                     1307 Highview Dr                                                     Webberville       MI    48892




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                                                                                                Core/2002 Service List
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                    Exhibit C
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                                            Objecting Party Service List
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                                     Description    CreditorName      Email
                                  Affected Claimant Rahul Singh  Email Redacted




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                    Exhibit D
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                                                                   Exhibit D
                                                          Objecting Party Service List
                                                          Served via First Class Mail

                                           Description    CreditorName     Address1        City State Zip
                                        Affected Claimant Rahul Singh  Address Redacted




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